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                                                                                             FILED
                                                                                  UNITED STATES DISTRICT COURT
                                                                                       DENVER, COLORADO
                                                                                            3:55 pm, Jan 20, 2022

                                                                                    JEFFREY P. COLWELL, CLERK
                     IN THE UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLORADO


Civil Action No. 1:20-cv-02074-KMT

ROSE BANKS, LAMONT BANKS, COLORADO SPRINGS
FELLOWSHIP CHURCH,
     Plaintiff(s),

v.

TERRELLE JACKSON,

        Defendant(s).



                         MOTION ASKING FOR IMMEDIATE RELIEF



        Asking for immediate relief from the individuals from Colorado Springs Fellowship. These
individuals have continued over the past years to harass and attempts to smear not only my name
but my family's name. These individuals namely Ariel Haughton, Tiffany Stewart, and Plaintiff Lamont
Banks have recently issued yet another Smear campaign on January 19th in which they have sent this
campaign to me several times through numerous social media outlets, Facebook and Twitter. And
also have sent it to other friends and associates through Social media. This smear campaign was
approved by Lamont Banks because as seen in the attached Exhibit they have added his signature.
Please see all attached Exhibits
        Asking for immediate relief from these individuals whether that is the arrest of the named
individuals as Harassment is a felony offense in Colorado. I would also like an immediate restraining
order against all Plaintiffs and all individuals that hold membership at Colorado Springs Fellowship
Church and those attached to that organization. It is sheer elementary for these individuals to
continue this type of Ludacris behavior, all approved and orchestrated by Plaintiffs Rose Banks and
Plaintiff Lamont Banks as this type of behavior is known all across Colorado to be their "M.O". Also
asking that Harassment and stalking charges also be filed against Tiffany Stewart and Ariel Haughton
and Plaintiff Lamont Banks. These charges are valid as another individual that was named previously
in the Third-Party claims was recently also charged with the same charges and awaits her court date
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for sentencing for this matter, her name is Michelle Harris. They are all included and have all
completed the same offense. Again, this type of behavior has gone on for years and needs to be
stopped.
        These individuals constantly stalk our social media pages and have stolen our personal
pictures to smear our names with and they even took a picture of my 11-month-old nephew and
placed him on this fabricated smear site, which is the son of Dustin Jackson. They also speak to
personal occurrences such as my mother having cancer (Which she never had thyroid Cancer) and
they play on that to try and prove a point. These individuals are the worst of individuals. They have
also made fake social media accounts such as Dominick Walsh, Kelly Youngin, Cindy Shoemaker,
Gabby Frankfurt, John Shaft to add additional harassment. This situation gets sicker and sicker as it
goes on. These individuals should be immediately handed over to a legal mental institution for an
evaluation. Please see attached exhibits for proof of this.
        The type of information they are reporting is absolutely atrocious and most certainly is false
information. The fact that these individuals sit around thinking of these disgusting situations and try
to expose information to try and ruin and smear someone's name speaks to the type of people they
are. Only saddened and miserable people operate like this. If you're going to report this type of
despicable accusation(s) at least seek to tell the truth about the occurrences, instead they released an
entire website filled with lies to try and smear the names Of Defendant Terrelle Jackon, Dustin
Jackson, Yolanda Jackson, The Jackson Family and Regina Thurman.
        The original website name they had was: https://tiffstewart.wixsite.com/thetruthspeaks which
completely proves who made the website, Then they changed the website name now
to: https://www.thetruthnow.online/. If you do a "WHOIS Search it shows the domain name was
created yesterday on 01/19/2022 and they also masked the domain to hide the owner of it, but the
nameservers are attached to an IP Address that point directly to Tiffany Stewart


Domain Name: THETRUTHNOW.ONLINE
Registry Domain ID: D270716882-CNIC
Registrar WHOIS Server: whois.networksolutions.com
Registrar URL: https://www.networksolutions.com/
Updated Date: 2022-01-19T19:49:42.0Z
Creation Date: 2022-01-19T19:49:39.0Z
Registrant Name: Statutory Masking Enabled
Registrant Organization: Statutory Masking Enabled
Registrant Street: Statutory Masking Enabled
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Registrant City: Statutory Masking Enabled
Registrant State/Province: FL
Registrant Postal Code: Statutory Masking Enabled
Registrant Country: US
Registrant Phone: Statutory Masking Enabled
Name Server: NS13.WIXDNS.NET
Name Server: NS12.WIXDNS.NET


        These individuals keep posting these coerced testimonials to try and prove a point, most of
the testimonials are made up by them and words the individuals have never spoken. They had their
church members complete these testimonials to put out on the internet in some sort of attempt
seemingly to do some type of damage control because their church name and Pastors name has a
complete horrible reputation in the entire state. And they call it “The Truth" Yet never spoke to the
real facts of the absolutely horrendous thing the Plaintiff Rose Banks has done to families and people
that have journeyed through Colorado Springs Fellowship Church.
        Colorado law states: CRS 18-9-111 is the Colorado statute that defines criminal harassment
as intentionally bothering, annoying, or alarming someone by way of repeated contact, obscene
gestures, hitting, taunting, or following in public. A conviction is a misdemeanor punishable by up to
6 months in jail and/or $50 to $750 in fines.
        Being that Harassment and stalking is an offense, I am asking the Judge to grant the highest
punishment Colorado can give on these offenses, be it jail time or fines for each named individual,
namely Plaintiff Lamont Banks, Tiffany Stewart, and Ariel Haughton. The key and ultimate aggressor
behind all of this is Plaintiff Rose Banks, for years she has placed individuals up to carry our her
wicked schemes in order to protect her so when the schemes backfire, which they all have, then the
named individual would catch the case or injury and not Plaintiff Rose Banks. She is the main
aggressor behind this type of wickedness. This has gone on long enough and it's past ridiculous.
Individuals in Colorado Springs Fellowship church are already facing jail time and awaiting
sentencing for this same stuff they are doing, and they lie and state they have not done anything,
but this is clear proof they have and are still carrying out these wicked tasks.



With the duty to confer with Plaintiffs’ Lawyer I did email Bernard Kleinman and received no
response
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Dated at _Arlington, __TX, this 20th day _January 2022.
                                                          TERRELLE JACKSON

                        2131 N COLLINS, SUITE 433 - PMB 174, ARLINGTON, TX 76011
                                                                     214.434.9153
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                               CERTIFICATE OF SERVICE



                         I hereby certify that on January 20th, 2022,
 I sent a copy of the MOTION ASKING FOR IMMEDIATE RELIEF

            to the following parties in the way described below each party’s name:




Party Name: ROSE BANKS, and LAMONT BANKS and

COLORADO SPRINGS FELLOWSHIP CHURCH


How Served: EMAIL____________________________________

Party Attorney’s Name: BERNARD KLEINMAN______________

Address: 108 VILLAGE SQUARE, SUITE 313, SOMERS, NY 105892305________

Telephone Number: __914.644.6660________________________
Email Address: __ATTRNYLWYR@YAHOO.COM_________


                                     ______________________________________________


                                                      (Signature of person completing service)

                                                                 Print Name: Terrelle Jackson


                         Address: 2131 N. Collins Suite 433 – PMB 174, Arlington, TX 76011

                                                            Telephone Number: 214-434-9153

                                               Email Address: Terrelle.L.Jackson@gmail.com
